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Main Document Page1of13

MICHAEL JAY BERGER (State Bar # 100291)
LAW OFFICES OF MICHAEL JAY BERGER
9454 Wilshire Boulevard, 6th Floor

Beverly Hills, California 90212

T: 1.310.271.6223 | F: 1.310.271.9805

E: Michael.Berger(@bankruptcypower.com
Attorney for Debtor-in-Possession

Mr. Tortilla, Inc.

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
SAN FERNANDO VALLEY DIVISION

In re | Case No.: 1:24-bk-10228-VK
Chapter 11

MR. TORTILLA, INC.,
DECLARATION OF ANTHONY
Debtor-in-Possession. | ALCAZAR IN SUPPORT OF
DEBTOR’S MOTION FOR ORDER
AUTHORIZING CONTINUED USE
OF CASH COLLATERAL PURSUANT
TO I1 U.S.C. § 363

Date: May 30, 2024

Time: 1:30 p.m.

Place: Courtroom 301
21041 Burbank Blvd. Suite 354
Woodland Hills, CA 91367

TO THE HONORABLE VICTORIA S. KAUFMAN, JUDGE OF THE
UNITED STATES BANKRUPTCY COURT, TO THE UNITED STATES

TRUSTEE AND TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS

OF RECORD:

l
DECLARATION OF ANTHONY ALCAZAR IN SUPPORT OF DEBTOR'S MOTION FOR ORDER AUTHORIZING CONTINUED USE Git
CASH COLLATERAL PURSUANT TO 115 USC. § 363

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DECLARATION OF ANTHONY ALCAZAR

I, Anthony Alcazar, declare and state as follows:

1. Lam the President and Director of Mr. Tortilla, Inc., the Debtor and Debtor-
in-Possession (the “Debtor”). 1 am over the age of 18. I have personal knowledge of the
facts 1 state below, and if I were to be called as a witness, | could and would competently
testify about what I have written in this declaration.

2. On February 14, 2024 (the “Petition Date”), the Debtor commenced the
Chapter 11 Case by filing a voluntary petition under chapter 11 of the Bankruptcy Code.
The Debtor operates its business and manage its property as a debtor in possession
pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No official committee of

unsecured creditors has been appointed in the Case.

3. On May 9, 2024, Debtor filed its Motion for Order Authorizing Continued
Use of Cash Collateral (“Continued Cash Collateral Motion”) [docket no. 166].

4. Debtor’s revised budget in support of the Continued Cash Collateral
Motion is attached hereto as Exhibit-1. This revised budget updates and replaces the

budget attached to the Continued Cash Collateral Motion.

| declare under penalty of perjury that the foregoing is true and correct and that

this declaration is executed on May 13, 2024 at San Fernando, California.

cC—

Anthony Alcazar

2
DECLARATION OF ANTHONY ALCAZAR iN SUPPORT OF DEBTOR'S MOTION FOR ORDER AUTHORIZING CONTINUED USE OF
CASH COLLATERAL PURSUANT TO 11 U.S.C. 3 363

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EXHIBIT 1
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Projected Income and Expenses - Mr. Tortilla, Inc.
May-24 Jun-24 jul-24 Aug-24
income Comments
Amazon FBA Inventory Credit $4,271.45 $4,442.31 $4,620.00 $4,804.81
Amazon Gift wrap credits §3.60 $3.74 53.89 $4.05
Amazon Promotional Rebate Refunds $615.92 $640.56 $666.18 $692.33
Amazon Sales - CAD $67,320.00 $67,656.60 $67,994.88 $68,334.86
Amazon Sales - CE $0.00 $0.00 $0.00 $0.00
Amazon Sales - UK 50.00 $0.00 $0.00 $0.00
Amazon Sales - US $2,564.28 $2,615.57 $2,667.88 $2,721.23]We have continued to have issues with
Amazon Sales - Vendor US $143,643.54 $145,079.98 $146,530.78 $147,996.08} Amazon, getting our selling accounts
Amazon Shipping Credits $60.20 $62.60 $65.11 $67.71|unblocked and obtaining payments due to us.
eBay Sales $139.24 $144.81 $150.61 $156.63] We have also had problems unblocking our
Paypal accounts, and Walmrt Account. Bue
to this, we have not had the ability to spend
Other Sales $122,708.84 $132,525.55 $143,127.59 $154,577.80! on marketing to scale these channels, as
Sales Tax $974.49 $1,013.47 $1,054.01 $1,096.17 parts of our income streams have been
blocked due to UCC claims, and creditors
such as Parkside Funding have not rescinded
their UCC claim necesitating 3 motion for a
Shopify Promotional Discounts -$37,180.55 -$37,552.36 -$37,927.88 -§38,307.16}court order to relinquish these funds
Shopily Sales $132,787.68 $134,115.56 $135,456.71 $136,811.28
Shopify Shipping $1,652.19 $1,718.28 $1,787.01 $1,858.49
Walmart Sales $5,850.12 $6,084.13 $6,327.49 $6,580.59
Gross income $445,411.01 $458,550.80 $472,524.27 $487,395.37
Expenses
Amazon Adjustments $164.16 $165.57 5166.98 $168.41
a Carrler shipping label adj $111.36 $112.49 $113.64 $114.80
Amazon Cost of Advertising $12,811.67 $12,971.13 $14,117.58 $14,238.39
A FBA i y and inbound services fees $854.68 $859.43 $864.20 $869.01
Amazon FBA product sale refunds $447.81 $450.29 $452.79 $455.31
Amazon FBA selling fees $3,913.36 $3,935.08 53,956.95 $3,978.98
Amazon FBA transaction fees $8,608.16 $8,655.94 $8,704.05 $8,752.50
A P ional Rebat $15,993.44 $16,082.21 $17,171.60 $17,261.62
A Refund administration fees $89.50 §90.00 $90.50 $91.00]Since our projected sales has reduced, our
Amazon Seller fulfilled selling fees $5,049.12 $5,077.15 $5,105.37 $5,133.79 expenses also reduce
Amazon Service fees. $2,591.89 $2,606.28 $2,620.77 $2,635.35
A Shipping credit refund $46.03 $46.28 $46.54 $46.80
Amazon Shipping label purchases $1,751.86 $1,761.58 $1,771.37 $1,781.23
Amazon Vendor Base Co-Op $17,237.22 $17,409.60 $17,583.69 $17,759.53
th Vendor Damag $2,872.87 $2,901.60 $2,930.62 $2,959.92
Amazon Vandor Marketing Expense $6,278.61 $6,466.96 $6,660.97 $6,860.80
Amazon Vendor Pick Up Allowance $4,309.31 $4,352.40 $4,395.92 $4,439.88
Raw Materials $75,719.87 $77,953.64 $80,329.13 $82,857.21
Payroll $105,829.66] $108,951.67] $112,271.77 $115,805.14
Insider Comp ion - Anthony Al $10,006.00 $10,000.00 $10,000.00 §10,000.00
ider Comp lon - Ronald Alcazar $8,800.00 $8,800.00 $8,800.00 $8,800.00

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lInsider Compensation - Tony Alcazar $8,000.00 $8,000.00 $8,000.00 $8,000.00
Ebay Foes $87.20 $389.81 $92.51 $95.28
PayPal Fees $11.55 $11.39 $12.25 $12.62
Sales Tax Expense $1,032.25 $1,063.22 $1,095.12 $1,127.97
Shipping, Freight & Delivery $40,977.81 $42,186.67 $43,472.23 $44,840.37
Shopity Fees $2,527.93 $2,578.48 $2,681.62 $2,788.89
Shopify Refunds $1,365.67 $1,420.30 $1,477.11 $1,536.19|Since our projected sales has reduced, our
Walmart Fulfillment Services $746.51 $768.91 $791.98 $815.74]expenses also reduce
Walmart Adjustments $10.03 $10.33 $10.64 $10.96
Walmart Commission $519.52 $535.11 $551.16 $567.69
Walmart Refunds $47.25 $48.67 $50.13 $51.63
Auto Expense $763.85 $786.76 $810.37 $834.68
We have reduced our monthly payments for
Car Lease $3,450.00 $2,160.00 $2,160.00 $2,160-00|leased vehicles
Insurance $3,234.58 $3,234.58 $3,234.58 $3,234.58
Machinery Lease Expense $1,000.00 $1,000.00 $1,000.00 $1,000.00
Repair & Maintenance $2,121.80 $2,185.45 $2,251.02 $2,318.55
Outside Sales $13,100.00 $13,100.00 $13,100.00 $13,100.00
Bank Charges & Fees $1,060.90 $1,092.73 $1,125.51 $1,159.27
The issues in unblocking our Ecommerce
Facebook Advertising $17,816.44 $18,342.03 $18,900.97 $19,495.81 |Channels have resulted in less funds available
to marketing than anticipated
Google Advertising
Licenses & Fees $3,362.10 $3,462.96 $3,566.85 $3,673.85
Since our projected sales has reduced, this
Marketing Expenses $5,325.45 $5,485.21 $5,649.77 $5,319.26] expense also reduces
Moving & Storage $309.89 $319.19 $328.77 $338.63
Office Expenses $3,394.88 $3,496.73 $3,601.63 $3,709.68
We have reduced our equipment rental
Equipment Rental $900.00 $900.00 $900.00 $900.00/ expense
4142 Arroyo St. Unit & $7,775.00 57,986.00 $7,986.00 $7,986.00 ,
1142 Arroyo St Unt B $4,029.00] $4,143.00 $4,143.00] $4,143.00 North Holiyesod, CA an Cee et ti
1110 Arroyo St. Office $2,287.50 $2,287.50 monthly rent expense
1104 Arroyo St. $7,589.00 $7,589.00 $7,589.00 $7,589.00
Software Subscription License $1,558.99 $1,605.76 $1,653.93 $1,703.55
Travel $1,131.59 $1,165.54 $1,200.51 $1,236.52
Trade Shows $10,500.00 $10,500.00 $10,500.00 $10,500.00
Since our projected sales has reduced, this
Utilities $3,251.64 $3,349.19 $3,449.67 $3,553.16 expense also reduces
U.S. Smalt Business Administration (SBA) $1,237.00 $1,237.00 $1,237.00 $1,237.00
Adequate Protectlon Payments to Amazon Capital
Sarvices, Inc. $5,000.00 $5,000.00 $5,000.00 55,000.00
Oeborah Tyrell (Bookkeeping Services)- For
Preparation of MOR $1,500.06 $1,500.00 $1,500.00 $1,500.00
Amazon US Sellar Account Payments $1,000.00 $1,000.00 $1,000.00 $1,000.00
Amazon Canada Seller Account Payments for pre-
petition Amazon Fees $1,600.00 $1,600.00
Law Offices of Michael Jay Berger (general Te noyieatcrineslocntiedine sie
bankruptcy counsel} - subject to court Negative for the month
approval $30,000.00
Office of the U.S. Trustee - Quarterly Fees
estimated} $8,473.59
Total Expenses $443,105.90] $480,841.31| $466,751.32] $468,049.57
Net Income $2,305.11 -$22,290.51 $5,772.94 $19,345.80

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Blvd., 6'" Fl., Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF ANTHONY ALCAZAR
IN SUPPORT OF DEBTOR’S MOTION FOR ORDER AUTHORIZING CONTINUED USE
OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363 wit! be served or was served (a) on the judge in

chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated beiow:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_5/13/2024, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the

following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

{] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On 5/13/2024_, | served the following persons and/or entities at the last known addresses in this bankruptcy case or

adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

J] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method

for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on _5/13/2024___, | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to

such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Honorable Victoria Kaufman

United States Bankruptcy Court

Central District of California

21041 Burbank Boulevard, Suite 354 / Courtroom 301

Woodland Hills, CA 91367

L] Service information continued on attached page
i declare under penalty cf perjury under the laws of the United States that the foregoing is true and correct.

5/13/2024 Peter Garza __. /s/Peter Garza ee
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

F 9013-3.1.PROOF.SERVICE

June 2072
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1. TOBE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Counsel for Debtor: Michael Jay Berger — michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com

Counsel for Metropolitan Capital Bank & Trust: Jeffrey N Brown = jbrown@thompsoncoburn.com,
cmamayson@thompsoncoburn.com, smagnus@thompsoncoburn.com, DocketLA@thompsoncoburn.com
U.S. Trustee: Katherine Bunker — kate.bunker@usdoj.gov

Counsel for Sand Park: Brian T Corrigan — bcorrigan@cormorllp.com, sem@cormorllp.com

Counsel for Spartan Business Solutions: Anthony F. Giuliano — afg@glpcny.com

Counsel for 8fig Inc.: John E Johnson —jjohnson@padfieldstout.com

Counsel for Dekirmenjian Family Trust: Bret D Lewis Bretlewis@aol.com, bdlawyager@gmail.com
Interested Party: Matthew D. Resnik Matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;rebeca@rhmfirm.com;david
@rhmfirn.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com

Counsel for Amazon Capital: Brandy A Sargent — brandy.sargent@klgates.com,
litigation.docketing@klgates.com;janna.leasy@klgates.com

United States Trustee (SV) ustpregion! 6.wh.ecfia'usdo].gov

Counsel for SBA: Elan S Levey — elan.levey@usdoj.gov, manalili47:@zmail.comjulic.moralesie¢usdo}. gov
Official Committee of Unsecured Creditors Jeffery D Hermana —jhermann@orrick.com,
casestream(@ecf.courtdrive.com

Counsel for Blue Bridge: Jeffrey Garfinkle —_jgarfinkle@buchalter.com,
docket@buchalter.com;|lverstegen@buchalter.com

2. SERVED BY UNITED STATES MAIL

\

U.S. Trustee:

Katherine Bunker

015 Wilshire Bivd., Ste. 1850
Los Angeles, CA 90017

SECURED CREDITORS:

8Fig, Inc.
11801 Domain Blvd, Third Floor
Austin, TX 78758

8Fig, Inc.
1717 W. 6th Street, Suite 335
Austin, TX 78703

Amazon Capital Services, Inc.
c/o K&L Gates LLP

One SW Columbia St. Ste. 1900
Portland, OR 97204

Amazon Capital Services
PO Box 84837
Seattle, WA 98124-6137

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June 2012 F 9013-3.1.PROOF.SERVICE
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Amazon Capital Services, Inc.
410 Trry Ave. N.
Seattle, WA 98109

Amazon Capital Services, Inc.
c/o Davis Wright Tremaine LLP
Attn: Lauren Dorsett, Esq.

A 920 5th Avenue, Suite 330
Seattle, WA 98104-1610

Blue Bridge Financial, Inc.
11921 Freedom Drive, Suite 1130
Reston, VA 20190 (Address from POC)

Bluevine
30 Montgomery Street, Ste 1400
Jersey City, NJ 07302

Cedar Advance
2917 Avenue |
Brooklyn, NY 11210

Cedar Advance

c/o Corrigan & Morris LLP
100 Wilshire Blvd., Ste. 700
Santa Monica, CA 90401

Corporation Service Company
As Representative

PO Box 2576

Springfield, IL 62708

CT Corporation Service Company
as Representative

PO Box 2576

Springfield, IL 62708

Fasanara Securitisation S.A. Acting
For and On Behalf of Its Compartmen
36-38 Grand-RUE

Grand Duchy of Luxembourg

Grand Duchy of Luxembourt 1660

Financial Pacific Leasing, Inc.
PO Box 4568
Auburn, WA 98001

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June 2012 , F 9013-3.1.PROOF.SERVICE
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Financial Pacific Leasing, Inc.
3455 S 344th Way #300
Auburn, WA 98001-9546

First Corporate Solutions
as Representative

9145S. Street
Sacramento, CA 95811

Huntington Valley Bank
990 Spring Garden Street 700
Philadelphia, PA 19123

Huntington Valley Bank
First Citizen Square

15 South Main Street
Mansfield, PA 16933-1590

Mercury Capital

27702 Crown Valley Pkwy
Bldg D4 #205

Ladera Ranch, CA 92694

Metropolitan Capital Bank & Trust
9 East Ontario Street
Chicago, IL 60611

Parkside Funding Group LLC
865 Nj-33 Business 3 Unit 192
Freehold, NJ 07728

Partners Personnel
Management Services, LLC
3820 State Street, Ste B
Santa Barbara, CA 93105

Robert Reiser and Company
725 Dedham Street
Canton, MA 02021

Sand Park Capital LLC

c/o Corrigan & Morris LLP
§401 Collins Ave, Ste. Cu-9A
Miami, FL 33140

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Sand Park Capital LLC

c/o Corrigan & Morris LLP
Attn: Brian T. Corrigan
1425 Foothills Village Dr.
Henderson, NV 89012

Sellers Funding
45 N. Broad Street, Suite 100
Ridgewood, NJ 07450

Shopify Capital
100 Shockoe Slip, 2nd Floor
Richmond, VA 23219

Slope Advance
7 Freelon Street
San Francisco, CA 94107

Spartan Capital
371 E Main St, Suite 2
Middletown, NY 10940

Stor RB One Limited
14 Old Queen Street
London, UK SW1H9HP GBR

U.S. Small Business Administration
10737 Gateway West, #300
E] Paso, TX 79935

U.S. Small Business Administration
c/o Elan S. Levey

300 N. Los Angeles Street

Fed. Bldg. Rm, 7516

Los Angeles, CA 90012

CREDITORS COMMITEE:

Simpler Postage, Inc. (dba EasyPost)
2889 Ashton Boulevard, Ste. 325
Lehi, UT 84043

Jeeves

c/o Alexander Grimwood

2035 S. Sunset Lake Rd., Ste. B-2
Newark, DE 19702

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Orrick

c/o Herrington & Sutcliffe LLP
Brandon Batzel, Esq.

51 West 52"

New York, NY 10019-6142

20 LARGEST UNSECURED CREDITORS:

EasyPost
2889 Ashton Boulevard, Suite 325
Lehi, UT 84043

Facebook
1601 Willow Read
Menlo Park, CA 94025

Fleetcor Technologies Inc.
3280 Peachtree Road, Ste 2400
Atlanta, GA 30305

Greenberg Traurig
1840 Century Park East, Ste 1900
Los Angeles, CA 90067

Internal Revenue Service
P O Box 7346
Philadelphia, PA 19101-7346

Lyneer Staffing
1011 Whitehead Rd Ext
Trenton, NJ 08638

Parker Group, Inc.
2261 Market Street, #4106
San Francisco, CA 94114

Ramp
28 West 23rd Street, Floor 2
Washington, DC 20020

Jeeves
2035 Sunset Lake Rd. Suite B-?
Newark, DE 19702

Southern California Edison
2244 Walnut Grove Avenue
Rosemead, CA 91770

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UPS
55 Glenlake Parkway NE
Atlanta, GA 30328

We Pack It All
2745 Huntington Drive
Duarte, CA 91010

Rapid Fulfillment LLC
12924 Piernce Street
Pacoima, CA 9133]

Frisbi
1267 57th Street, Ground Floor
Brooklyn, NY 11219

Taboola

Hatkoff & Minassian

16 Madison Square West, 7th Floor
New York, NY 10010

MNTN
823 Congress Avenue, #1827
Austin, TX 78768

Perpetua
36 Maplewood Avenue
Portsmouth, NH 03801

Uline
12575 Uline Drive, H1
Pleasant Prairie, WI 53158 (Address from POC)

Bakers Authority
59-21 Queens Midtown Expy
Maspeth, NY 11378

Attentive Mobile
221 River Street, Suite 9047
Hoboken, NJ 07030 (Address from POC)

ADDITIONAL CREDITORS:

ArcBest, Inc.
3801 Old Greenwood Rd.
Fort Smith, AR 72901 (Address from POC)

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June 2012 F 9013-3.1.PROOF.SERVICE

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Old Dominion Freight Line, Inc.

c/o Rusty Frazier, Asset Recovery Analyst
500 Old Dminion Way

Thomasville, NC 27360 (Address from POC)

TikTok Inc
5800 Bristol Pkwy, Ste. 100
Culver City, CA 90230 (Address from POC)

Pawnee Leasing Corp.
3801 Automation Way, Ste. 207
Fort Collins, CA 80525 (Address from POC)

KTLA/KTLA

c/o The Law Offices of Gary A. Bemis
3870 La Sierra Ave., Ste. 239

Riverside, CA 92505 (Address from POC)

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June 2012 F 9013-3.1.PROOF.SERVICE
